Case 19-30694 Document 134 Filed in TXSB on 02/05/20 Page 1 of 3

t a -
|
:

i

i

i

llessey sower 2ohon |

(AUNLVNOIS TVNIDIYO) ,

oar He _—" cy QaNDIS

"JOaLIOS pu ony SI ‘sjuswYySeNe snd ¢-y 4A
ysnomp [-YAW JO Sunsisuos “Qy JW) Hodey fefoueury AjqUo
ayojdwoo BuLMoy]joy au yey) Aunfiad jo Ayeuad Japun 4411199 |

 

Tail

 

 

| eeslazsetz] squoydayay,
| soous sexol sdyZ ‘ayers AND
{ | :ssaippy
0&2 aig “asonuOW éLiy] :SSIPPY
: dT ALLVaS 2 AVEEAW SANOr] SWI
souor wa |PWeN AUIONY

 

 

 

 

 

 

 

gax2A1SNL] SOIEIS POTUL) aU) 0} JUas aq ysnut Adod e pue yNOD o\dn.FQUEG saIEIS PIIUE 9Y) YIM pay aq ysnu JUSUINIOp SITY) JO JEUIBIIO SU] 44s

 

 

pe | 4 ZUOneZTURSIODY JO Ue] q INOA JO SNRs DYY SI TEU A,

 

 

[JON A}S2A. giuauins syuawiAeg 99,5 Apiayeng) 21SM], “°S “fF IIB AV

| ure(dxa ‘os J] DJON[JS9A é pted uaaq soniiqey UoNMed~oud Aue savpy

[JON ]S2A {swua1 uNLpIM pred Sujaq ‘soxey Suipnyout ‘sanipiqet[ uonnad-jsod [je ary

(Tenpraipyy ue st 1oigep a4) Usy A)

00°0 $ , oT

(diyssoyatidoid ajo e si s01gap ay) Udy AA)

I-€ JIQIyxg SsouIsng [Jews JO

sjustUasINgsiq [210] _ ss TAA Woy sjusurasingsiq [P30 | L-UOW Woy sjuswesingsiq [e0L

 

a 1

*SJUN0IIE [Je PUL YOR AOJ PoyoeHeE 9q plnoys JUIUII}e}S poplou0se1 B Jo Adod V

(pepaou jl 1st] youre)

 

 

 

 

 

 

 

 

| QBOLXXxx | ~ sexay jo yueg|
' | ~ ~ ~~ “|
“ON LNNOODV “JINWN SNVE

:SJUNOIOY UOISSassOg-U]-101Gaq-UON IV

a ___ (papoau js 3st] youne)
| ZOGLXXXX | ee Word ®

 

- QO9PXXXX | yueg jso14] @

= : = qh

“ON INNODOV “AWVN NNVE

ssyunosay adeiayxO1g ‘sdulaeg “BuIyIaYD UOIssassog-U]-10199C] JENPLAIPUT [[V

~LOz-1equissaq| 40 (S66I/AWIN :21duwex2) YVAA/HLNOW FHL YOd SI. LUOdTa SIHL

' 7690€-61

  

TWAGANN ASVO

 

 

“BLOZ/POIZO 2 ae uORHe”

 

]eSSeH sawer ~~ g9Koy | aWIWN ASVO

NOISIAIG NOLSNOH |
SVX4.L AO SLOTILSIG NYALSAM GNV NYAHLNOS
LYNOD ADLINWANVE SALVLS Ga.LINN
Case 19-30694 Document 134 Filed in TXSB on 02/05/20 Page 2 of 3

PIOTAEA Pasay

CHA
6/°898'199 $ 22 1Sz'b89 $ BE'SZE LOLS “ee'9E2 SZ § vO'Ose'es2 $ 000 $ HLNOW 40 ONG - HSV Tz
220° z9v'oe) oo MOTI HSVO LAN 07
62'L25'9% $ O0'680' rr Os'ert'el $ 60'set'bh $ [eorevies «|| ooos SLNAWASUNASIC TVLOL
oro 00'0
-o0'0 00'0 Saad TVNOISSAAONA “81
00'620'rr $ 6oSel'lt $ aoe le $ (1en pisipuy 205) SLNAWASUNASIC TVLOL-ANS

QP'acl ze'e18'9 00'000'r o0'se2'z

es bey'h estar’ i

6F Z6E'1 : o0'0
ZV'8PS' LL 60 0ZE'L ,£2°209'9 ¥l'162'1 LO Léz'¢
000 ¥6'SE pS'6L 00°ot
PLZ 66°9eS ELSiih c6°69E bE99e'h
ogzrt gp'vet 95°99F ‘769zl ao"os
boLze't £S°2iz'$ OL EBL  B8'ers Ze LeL'h
PELE ZO'7r8'L .08'E26 O2'S60'r 29°S0t'st
Leva’ 65°90 E LLv LLC z6'0S2 2g9ce'y
9e'200'6 ge'09L' sz ,00°0 000

SLNIWASUNGASIA

: 1-@ HqIYX Ssouisng []eUg
00°0 410 {-YOW ssouisng jo woryes9d¢G (0) VONNGIWOD) MOA Meg

OLser $ 98°28S $ OS PED $ 99° rl $ S1d19ITY WLOL

a0"'0
, 89°28S
a) 600

#6°010'889 $ 09°82 Bel $ ‘og'oe'6cz $ Z9'982'192 $ 90166 ba2 $ HLNOW 40 ONINNIDG@ - HSV “1

SINGQAASUNESI
HLNOW __ LNOW HLNOW amnaanos GNV SLdldoud HSV

 

 

vEQ0E-6h

   
 

*WaaWAN aSVO po - essen Sep aokoy | HIWWN ASV
2078q UONNed

X'INO STVNGIAIGNI 103 S! WaOd SM

[erozivorzo
[wse0e-6i

 

Case 19-30694 Document 134 Filed in TXSB on 02/05/20 Page 3 of 3

SIDE TET PAstary

 

foros ——s—ésdi cvs

 

co'os

X'INO STVNGIAIGNI 19F 81 WHOS STULL

~ |: waaWOAN ASVO Bo SEH

cH

(lenplArpuy 40)) SALLITIGVIT NOLLIL3d-LSOd TVLOL
SIXVL TVLOL

aad noasnn

adaanods TVLOL

yueg soueBay
‘oo aBeByow wewyjstuL

a

SALLITIGVIT NOLLILAd-~LSOd

 

sewer ako | A AIWN ASV
